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1    James A. Anton (144999)
     Law Office of James A. Anton
2    7700 Irvine Center Drive, Suite 800
     Irvine, CA 92618
3    949-753-2818
     Email: james@jamesantonlaw.com
4
     Attorney for Defendants, Jeannette Manfre, Albert Manfre and
5    CMAM, Inc. dba Heritage Financial Services

6
                                       UNITED STATES DISTRICT COURT
7
                   CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
8

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11   KOLETTE A. PAGE AND CLETUS M. PAGE                    )    Case No. 8:18-cv-01208 AG (KESx)
                                                           )    (Assign: Hon. Judge Andrew J. Guilford)
12                       PlaintiffS,                       )
                                                           )
13                  V.                                     )    STATE AUTHORITIES IN SUPPORT
                                                           )    OF MOTION FOR MORE DEFINITE
14   MINNESOTA LIFE INSURANCE                              )    STATEMENT OR IN THE
     COMP ANY, SHUR WEST HOLDING                           )    ALTERNATIVE MOTION TO
15   COMPANY, INC., SHURWEST, LLC;                         )    DISMISS COMPLAINT AGAINST
     HAPPY STATE BANK & TRUST COMPANY                      )    DEFENDANTS (Fed. R. Civ. P. 12(e)
16   DBA GOLDSTAR TRUST COMPANY;                           )    and 12(b )(6)
     FUTURE INCOME PAYMENTS, LLC;                          )
17   CMAM, INC. DBA HERITAGE FINANCIAL                     )    Hearing Date: December 17, 2018
     SERVICES; ALBERT ANDREW MANFRE;                       )    Hearing Time: 10:00 am
18   JEANNETTE MANFRE; MATTHEW LEE                         )    Courtroom: l0D
     BIESER, AND DOES 1 - 10,                              )
19                                                         )
                         Defendants .                      )     [REQUEST FOR JURY TRIAL]
20
             Defendants, CMAM, Inc. dba Heritage Financial Services and Albert Manfre and Jeannette
21
     Manfre (hereinafter collectively "Defendants") provide the attached state authorities in support of
22
     theirmotion:(1) Construction Protective Services, Inc. v. TIG Specialty Insurance (2002) 29 Cal. 4'h
23
      189; (2) Davies v. Sallie Mae, Inc. (2008) 168 Cal. App.   4'h1086.
24
                                                                            MESA.ANTON
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26
      DATED:~                  2018
                                              James A. Anto , Attom     for Defendants, Jeannette Manfre,
27                                     Albert Manfre and C         c. dba Heritage Financial Services

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                STATE AUTHORITIES IN SUPPORT OF MOTION FOR DEFINATE STATEMENTOR TO DISMISS
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                   CONSTRUCTION PROTECTIVE SERVICES INC v. TIG SPECIALTY INSURANCE COMPANY
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              CONSTRUCTIONPROTECTIVESERVICESINC v. TIG                                                                                                  SantaAna AccidentLawyer                               ll>
                                                                                                                                                        Traut Firm
              SPECIALTYINSURANCECOMPANY
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                                                      Supreme Court of California
                   CONSTRUCTION PROTECTIVESERVICES, INC., Plaintiff and Appellant, v. TIG
                        SPECIALTY INSURANCE COMPANY, Defendant and Respondent.

                                                                 No . So99647.                                                                             S)    WEBSITE                •      DIRECTIONS
                                                       Decided: November 14,              2002

              Devirian & Shinmoto and Donald B. Devirian, Los Angeles, for Plaintiff and Appellant . Selman•Breitman, Alan
                                                                                                                                                  FindLaw Career Center
              B. Yuter and Rachel E. Hobbs, Los Angeles, for Defendant and Respondent . Wiley, Rein & Fielding; Laura A.
              Foggan, John C. Yang, Alexander K. Sun; Sinnot, Dito, Moura & Puebla, Randolph P. Sinnott, Los Angeles,                                 Select a Job Trtle
              Randy M. Marmor, Oakland, for Insurance Environmental Litigation Association as Amicus Curiae on behalf                                  Attorney
              of Defendant and Respondent. Horvitz & Levy, Mitchell C. Tilner, Encino, and Karen Bray for Fire Insurance
              Exchange, Farmers Insurance Exchange , Truck Insurance Exchange and Mid Century Insurance as Amici
              Curiae on behalf of Defendant and Respondent. Hancock Rothert & Bunshoft, W. Andrew Miller, William J.
                                                                                                                                                       Corporate Counsel
                                                                                                                                                       Academ ic
                                                                                                                                                       Judicial Clerk
                                                                                                                                                       Summer Associate
                                                                                                                                                                                                       I
              Baron and Kathryn C. Ashton, San Francisco, for London Market Insurers as Amicus Curiae on behalf of
                                                                                                                                                      ·intern
              Defendant and Respondent.                                                                                                                Law Librarian
              Code of Civil Procedure 1 section 431.70 provides in pertinent part: "Where cross-demands for money have
              existed between persons at any point in time when neither demand was barred by the statute of limitations,                               Search Jobs     Post a Job      I Careers   Home

              and an action is thereafter commenced by one such person, the other person may assert in the answer the                                                                                 View More
              defense of payment in that the two demands are compensated so far as they equal each other, notwithstanding
              that an independent action asserting the person's claim would at the time of filing the answ er be barred by the
                                                                                                                                                                                                              X
              statute oflimitations . If the cross-demand would otherwise be barred by the statute of limitations, the relief
              accorded under this section shall not exceed the value of the relief granted to the other party." In other
              words , section 431 .70 permits a defendant in a civil action to assert a claim for relief in its answer and allege, in
                                                                                                                                                                      lyA
              effect , that the defense claim constituted prior payment for the plaintiff's claim and therefore should be set off
              against any award in the plaintiff's favor.

              In this case, the parties ask us to decide whether a comprehensive general liability insurance policy that                                 Drive Lyft. No Car Needed
              obligates an insurer to defend and ind emnify its insured against suits seeking damages thereby obligates the
              insur er to defend and indemnify the insured against a setoff claim ass erted under section 431.70 in an answer .
                                                                                                                                                         Low-cost rental through our
                   Included within this issue is the question of what exactly a setoff claim is and whether a setoff claim can
                                                                                                                                                         ExpressDriveprogram. Be
              result in affirmative relief against the plaintiff (as can a cross-complaint) or is limited to reducing the plaintiff's                   your own boss.
              recovery. We conclude that a section 431.70 setoff claim cannot result in affirmativ e reli ef. This conclusion
              is contrary to the conclusion of the Court of Appeal, and because the Court of Appeal relied on this point in
              finding a duty to defend and indemnify, we find it appropriate to permit the lower courts to reconsider the
              scope of the insurer's obligations based on a correct understanding of section 431.70. As we shall explain ,
              however, plaintiff has adequately stated a prima facie right to relief, and therefore the Court of Appeal was
              corr ect to reverse the trial court's order sustaining a demurrer.     Accordingly, we affirm the judgment of the
              Court of Appeal, without adopting that court's reasoning .

              I.     Factual and Procedural Background

                   On review of an order sustaining a demurrer without leave to amend, we take as true the well-pleaded
              factual allegations of the complaint.     (Haggis v. City of Los Angeles (2000) 22 Cal-4th 490, 495, 93 Cal.Rptr .2d
              327,993 P.2d983.)

              Construction Protective Services, Inc. (CPS) provides security at construction sites, and TIG Specialty
              Insurance Company (TIG Insurance) was, at relevant times, its general liability insurer . SHC/ Mark
              Diversified (SHC) was the general contractor for construction at the Castlemont High School in Oakland, and it
              hired CPS to provide security at the construction site. On or about October 19, 1996, during the course of
              construction, a fire broke out at the construction site, causing damage to SHC's work. SHC refused to pay
              CPS, but the complaint does not make clear whether this refusal reflected dissatisfaction with CPS's services on
              account of the fire.     On or about May 20, 1998 , CPS brought an action against SHC to recover payment for

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             services in the amount of $26,790. SHC asserted as an affirmative defense under section 431.70 that CPS was
             legally responsible for the damage arising out of the fire and therefore that SHC was entitled to set off fire
             damages against any amount it owed CPS for security services.       The complaint does not explain why SHC
             asserted its claim byway ofa section 431.70 setoff rather than a cross-complaint.

             CPS tendered SH C's setoff claim to TIG Insurance, asking TIG Insurance to defend CPS against the claini.
             TIG Insurance refused the tender and stated that it would not provide CPS with a defense to the claim or
             indemnify CPS for any setoff that was ultimately awarded. CPS then employed its own counsel to oppose the
             setoff claim, and on or about April 29, 1999, it settled its dispute with SHC, receiving tlie sum of $20,000.
             The complaint does not relate how CPS and SHC arrived at the settlement amount, or what value these
             litigants gave to tlie setoff claim.

             On February 10, 2000, CPS brought tliis action against TIG Insurance, alleging causes of action for breach of
             contract and breach of tlie covenant of good faitli and fair dealing, and asserting tliat TIG Insurance should
             have defended CPS against SHC's setoff claim and indemnified CPS for tlie setoff amount.          On May 22, 2000,
             tlie trial court sustained TIG Insurance's demurrer witliout leave to amend and dismissed the complaint. The
             trial court concluded tliat "under California law, an insurer does not have a duty to defend against affirmative
             defenses rrused in response to an insured's complaint against another party." The Court of Appeal reversed,
             concluding that a liability insurer's duty to defend includes defense of setoff claims like tlie one at issue here.
             The court reasoned tliat tlle setoff claim constituted a suit under our definition of that term in Foster-Gardner,
              Inc. v. National Union Fire Ins. Co. (199.8) 18 Cal-4tll 857, 77 Cal.Rptr.2d 107, 959 P.2d 265 (Foster-Gardner)
              and that the claim could possibly result in an award of damages against CPS. We granted review.

              TI. Discussion

              CPS argues tliat TIG Insurance should not be able to avoid its contractual obligation to defend and provide
              liability coverage by tlie fortuity tliat SHC asserted its claim against CPS as a setoff rather tlian as a cross-
              complaint or an independent suit. In other words, if payment for security services had not been at issue and
              SHC had simply filed an action against CPS for damages resulting from tlie fire, the insurance policy would
              unquestionably have obligated TIG Insurance to defend that action and indemnify CPS. But because CPS
              happened to have a claim against SHC for unpaid services, SHC was able to assert its fire damages claim by
              way of setoff ratlier than a separate complaint.   CPS asserts tliat this procedural nuance should not affect TIG
              Insurance's obligation as a liability insurer.

              TIG Insurance, on the other hand, relies on the plain language of tlie insurance policy . The policy is not
              appended to tlie complaint, but tlie complaint alleges, and TIG Insurance concedes, tliat it is a comprehensive
              general liability policy obligating TIG Insurance to defend suits seeking damages. TIG Insurance argues that
              a setoff claim asserted in an answer is not a suit seeking damages, and it relies on our literal interpretation of
              the word "suit" in Foster-Gardner, supra, 18 Cal.4tli at page 887, 77 Cal.Rptr.2d 107, 959 P.2d 265, where we
              stated tliat a "suit" is a "court proceeding initiated by tlie filing ofa complaint." (Italics added.) TIG
              Insurance also points out tliat the insurance policy at issue here requires it to defend CPS in a "suit seeking .
              damages ." (Italics added.) TIG Insurance argues that SHC's setoff claim is not a "suit seeking. damages,"
              because, contrary to the Court of Appeal's holcling, it could not result in an award of affirmative relief against
              CPS. Rather, it could only reduce the amount of CPS's recovery. In this regard, TIG Insurance cites section
              431.30, subdivision (c), whicli provides: "Affirmative relief may not be claimed in the answer."

                Because the Court of Appeal relied on its conclusion that a setoff under section 431.70 can result in an award
              of affirmative relief against the plaintiff, we focus on this question. We agree with TIG Insurance tliat relief
              by way ofa section 431.70 setoff is limited to defeating the plaintiff's claim.

              One important function of the section 431.70 setoffprocedure is to provide partial relief from the statute of
              limitations. When two parties have opposing claims against one another, whether or not the two claims are
              related, one party might allow the statute oflimitations to run on its claim, reasoning that the two claims have
              canceled one another out . If the second party then pursues its claim in a court action, the first party should be
              permitted to assert its expired claim defensively, arguing in effect that its earlier decision not to pursue tlie
              claim constituted a form of payment or compensation to the second party. But because the statute of
              limitations otherwise bars the first party's claim, the use of tliat claim should be defensive only, and the first
              party's recovery should be limited to offsetting any amount the second party might obtain on its opposing
              claim.   The legislative history of section 431.70 suggests the Legislature intended the section to codify this
              principle.

              Prior to July 1, 1972, former section 440 provided: "When cross-demands have existed between persons under
              such circumstances that, if one had brought an action against the other, a counterclaim could have been set up,
              the two demands shall be deemed compensated, so far as they equal each oilier, and neither can be deprived of
              the benefit thereof by the assignment or death of the other." (Code Amends. 1873-1874, ch. 383, § 53, p. 300,
              italics added.) Notably, former section 440 said nothing about the statute oflimitations, but a statute of
              limitations does not bar a defendant from alleging prior payment as a defense. Therefore, the statutory
              provision that "the two [cross-]demands shall be deemed compensated, so far as they equal eacll other" (ibid.,
              italics added) suggested that the statute of limitations might not apply where a claim is asserted merely as a
              past payment ratlier tlian as a present cause of action.   In Jones v. Mortimer (1946) 28 Cal.2d 627, 632-633,
              170 P.2d 893 (Jones), we held just that .

              Jones involved a setoff asserted by an insolvent builcling and loan association. (Jones, supra, 28 Cal.2d at p.
              629, 170 P.2d 893.) Under applicable law, tlie association's shareholders were liable for the association's
              debts. (Id. at p. 630, 170 P .2d 893.)    Therefore, the California Building and Loan Commissioner, who had


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               taken over the insolvent association , levied an assessment against the shareholders of $100 per share . Jones
               owned four shares, so Jones 's assessment was $400, but Jones never paid this assessment . Meanwhile, Jones
               had sued the association to recover for services, and he eventually recovered a judgment of $1,536 .10 against
               the association and the commissioner . The commissioner had been paying the association's creditors at a rate
               of 50 cents on the dollar, so he determined to pay half the $1,536.10 judgment owed to Jones, or $768.05, but
               to deduct from this amount the $400 assessment levied against Jones, leaving a net of $368 .05. Jones
               refused to accept the $400 setoff and brought a proceeding to enforc e his judgm ent. (Id. at p. 629, 170 P.2d
               893.)

               We held that the $400 setoffwas properunder           section 440. (Jones, supra, 28 Cal.2datp.       634,170 P.2d 893 .)
                 In the course of our opinion, we rejected the argument that the $400 setoff claim was barred by the statute of
               limitations. (Id . at pp. 632-633, 170 P.2d 893.) We reasoned: "Defendant could have set up the assessment
               as a counterclaim [to Jones's original claim] when the two coexisted and there was no question about the
               statute of limitations on either claim. The next step [under section 440) is that the demands are
               compensated . That can mean nothing more or less than that eacli of the claimants is paid to the extent that
               their claims are equal.      To the extent that they are paid, how can the statute oflimitations run on either of
               them? " (Jones, at p . 633, 170 P.2d 893.)

               Sunrise Produce Co. v. Malovicli (1950) 101 Cal.App.2d 520 , 225 P.2d 973 (Sunrise Produce) applied the
               holding of Jones to its own facts. In Sunrise Produce, the plaintiff sued for $3,850 in payment for goods sold
               to the defendant. The defendant admitted the allegations in the complaint but counterclaimed for $40,450 in
               unpaid trailer rentals (id. at p. 521,225 P.2d 973), though the statute oflimitations had run with respect to the
               trailer rental claim (id. at p. 522, 225 P.2d 973). The trial court granted the plaintiff's motion to strike the
               counterclaim and then granted summary judgment for the plaintiff. The Court of Appeal reversed, applying
               Jones . The court misstated the facts of Jones (Sunrise Produce, at p. 522, 225 P.2d 973) but correctly
               understood our holding in that case (id. at p. 523, 225 P.2d 973) and concluded, as we did in Jones, that the
               statute oflimitations did not prevent the defendant from asserting payment as a defense. (Sunrise Produce, at
               pp. 523-524, 225 P.2d 973.)        The court stated : "This is a fair rule as it provides in effect that plaintiff's and
               defendant's claims, having coexisted in point of time, are deemed compensated to the extent that they equal
               eacli other, and the statutes of limitation should not bar the defendant's right to show that compensation."
               (Id . at p. 523, 225 P.2d 973.) The court further held that a claim need not be liquidated (th at is, one having a
               fixed monetary value) in order for a defendant to allege the claim as a setoff . (Id. at pp. 524-525, 225 P.2d
               973.)

               The decision in Sunrise Produce might be read as permitting the defendant to collect the full $40,450 on its
               counterclaim, though that result would be inconsistent with the logic of Jones, whlcli permitted the setoff
               defense but said nothing about allowing a defendant to obtain affirmative relief on a time-barred claim .
               Perhaps in part to clarify this question, the Legislature repealed former section 440 in 1971 (Stats .1971, cli. 244,
               § 43 , p. 389) and enacted in its place section 431.70, codifying the rule of Jones and Sunrise Produce but
               adding the following sentence : "If the cross-demand would otherwise be barred by the statute oflimitations,
               the relief accorded under this section shall not exceed the value of the relief granted to the other party ." (§
               431.70, added by Stats.1971, ch. 244 , § 29, p. 386.)          Section 431.70 has, in relevant part, remained unclianged
               since its enactment in 1971.

               A legislative committee comment relating to the enactment of section 431.70 (reprinted at 14A West's
               Ann .Code Civ. Proc . (1973 ed .) foll. § 431.70, p. 413) cites Jones and Sunrise Produce and confirms that
               "Section 431.70 continues the substantive effect of former Code of Civil Procedure Section 440."
                   Significantly, nothing in the legislative history of section 431.70 suggests the Legislature intended to permit
                   defendants to obtain affirmative relief (that is, relief beyond defeating the plaintiff's claims) without filing a
                   cross-complaint.    Confusion, however, arises because of the following provision: "If the cross-demand would
                   otherwise be barred by the statute of limitations, the relief accorded under this section shall not exceed the
                   valu e of the relief granted to the other party ." (§ 431.70 .) This sentence suggests by negative inlplication that ,
                   if the cross-demand is not barred by the statute of limitations, a set off claim can result in an affirmative award
                   in the defendant's favor.

                   CPS, of course, adopts this reasoning in support of its position that the setoff claim at issue here constitutes a
                   suit seeking damages, thereby triggering TIG Insurance's duty to defend, and the Court of Appeal in this case
                   agreed withthis argument.      But this interpretation is in direct conflict with section 431.30, subdivision (c),
                   which, as noted, states that "[a]ffirmative relief may not be claimed in [an] answer."       Because of the tension
                   between these two provisions, a leading commentary on California procedure recommends that, where the
                   cross-demand is not barred by the statute oflimitations, a defendant should assert its claim by way of cross-
                   complaint rather than relying solely on a setoff . (3 Cal. Forms of Pleading and Practice Ann. (2001) §
                   26.114(5], p. 26-104.)

                     We think the best reading of section 431,70 is that a setoff claim may only be used defensively, being in
                   nature a defensive pleading asserting that the claim constituted prior payment for the amount sought in the
                   plaintiff's complaint. Indeed, section 431.70 expressl y refers to the setoff claim as "the defense of payment,"
                   and partial payment of Jones's judgm ent was the logic of our holding in Jones. (Jones, supra, 28 Cal.2d at p.
                   633, 170 P.2d 893.) One who has paid a liability in full or in part can allege that payment as a defense to a
                   cause of action, but in tliat case th e defendant merely hopes to defeat the plaintiffs complaint. If, in addition,
                   the defendant seeks affirmative relief in its favor (such as the recovery of damages), it must file a cross-
                   complaint, because section 431.30, subdivision (c), bars it from claiming affirmative relief by way of the
                   answer . (See Estate of Bell (1914) 168 Cal. 253,258,141 P. 1179.) Furthermore, to the extent a defendant
                   seeks affirmative relief, the applicable statute oflimitations applies to the defendant's claim, just as it would if
                   the defendant were asserting its claim in an independent action. Therefore, when the Legislature limited th e
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            relief available under section 431.70, but only where "the cross-demand would otherwise be barred by the
            statute of limitations," it was not eliminating the requirement of filing a cross -complaint to obtain affirmative
            relief; rather, it was merely confirming the possibility of full relief where the statute of limitations imposes no
            bar .

            We hold that a defendant may not obtain an award of affirmative relief against a plaintiff by way of section
            431.70; rather, the defendant may only assert the setoff defensively to defeat the plaintiffs claim in whole or in
            part . This interpretation of the Code of Civil Procedure does not, however, resolve the question whether a
            setoff claim constitutes a suit seeking damages for purposes of a comprehensive general liability insurance
            policy. Though a defendant may not obtain affirmative relief by way of a setoff claim, the defendant does
            reduce the claim to a monetary value by successfully asserting it as payment for the liability the plaintiff is
            alleging in its complaint. And this point brings us back to the heart of CPS's argument. If not for the debt
            SHC owed to CPS, SHC's fire damages claim against CPS, if asserted in a court oflaw, would unquestionably
            have been a suit for damages. But because of its debt to CPS, SHC could allege the claim as a setoff rather
            than by way of complaint. For accounting purposes, however, the effect was no less a monetaiy recoveiy than
            would be a damages award.        In these circumstances, CPS argues we should treat the setoff claim as a suit for
            damages.

              We decline to decide this question in a case like this one where the precise terms of the insurance policy are
            not before us. Nevertheless, we affirm the judgment of the Court of Appeal. CPS's complaint adequately
            stated a prima facie right to relief, and therefore the Court of Appeal was correct to reverse the trial court's
            order sustaining the demurrer. In an action based on a written contract, a plaintiff may plead the legal effect
            of the contract rather than its precise language. (See generally 4 Witkin, Cal. Procedure (4th ed. 1997)
            Pleading,§§ 388,389,479,480,481,    pp . 486-487, 572-574.) CPS has chosen to proceed in this manner, and
            though the complaint could have been clearer, it satisfactorily alleged (1) that the insurance policy obligated
            TIG Insurance to defend and indemnify CPS against suits seeking damages, and (2) that under the terms of the
            policy, SHC's setoff claim fell within the scope of that contractual obligation. Whether CPS can prove these
            allegations (that is, whether its interpretation of the applicable contractual language is correct in light of what
            we have said here) remains to be seen, but the allegations are sufficient to establish a prima facie right to relief .
              TIG Insurance may move for judgment on the pleadings or summaiy judgment, raising the same arguments
            it raised in its demurre r, and in support of its motion it may provide the court with a copy of the insurance
            policy in question.

             III.   Conclusion

            The judgment of the Court of Appeal is affirmed.

             FOO1NOTES

            FN1. All further statutocy references are to the Code of Civil Procedu re unless otherwise indicated. . FN1.
            All further statutoiy references are to the Code of Civil Procedure unless otherwise indicated.

             BROWN,J.

             WE CONCUR: GEORGE, C.J. KENNARD, BAXTER, WERDEGAR, CHIN, and MORENO, JJ.




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                                                                    168 Cal.App.4th 1086 (2008)

                                                 STEPHEN T. DAVIES, Plaintiff and Appellant,
                                                                                       v.
                                        SALLIE MAE, INC., et al., Defendants and Respondents.

                                                                               No. A 119944.

                                             Court of Appeals of California, First District, Division Four.

                                                                            October 31, 2008.

     1088 *1088 Stephen T. Davies, in pro. per., for Plaintiff and Appellant.

             Law Offices of Miriam Hiser and Miriam Hiser for Defendant and Respondent Sallie Mae, Inc.

             Murphy Austin Adams Schoenfeld, J. Scott Alexander and John E. Fisher for Defendant and Respondent
             EdFund.


             OPINION

             RUVOLO, P. J.

             Stephen T. Davies (Davies) appeals from the trial court's grant of demurrers to his second amended
             complaint (SAC) without leave to amend. Finding the trial court committed no error in determining Davies's
             SAC failed to state a cause of action against his student loan note holders, we affirm.


             I. FACTUAL AND PROCEDURAL BACKGROUND

             Davies obtained Federal Stafford student loans from respondents Sallie Mae, Inc. (Sallie Mae), and EdFund
             to fund his education between 1993 and 1997. In connection with his student loans, Davies signed a
             promissory note. Davies does not dispute his underlying obligation to pay his student loans. In 1998, Davies
             graduated from law school and his repayment obligations began. From 1998 through 2005, respondents
             granted his economic hardship deferment requests.

     1089 *1089 In connection with his deferment requests, between 1998 or 1999, and 2000, respondents requested,
             and Davies provided, verification of his income and economic hardship status . Pursuant to this request,
             Davies's then employer, attorney Steven A Schectman (Schectman), drafted letters substantiating Davies's
             minimum income and employment status.f1l

             In October 2005, respondents placed Davies's student loans in default and commenced collection activities.
             Davies filed his original complaint, drafted on a Judicial Council form, filed June 22, 2006, alleging that as a
             result of his employer's letters, a contract was formed between Schectman and respondents to which
             Davies was a third party beneficiary. He requested contract reformation, declaratory relief affirming the
             alleged contract to which Davies was a third party beneficiary, and other equitable relief. On January 11,
             2007, the trial court sustained respondent EdFund's demurrer for failure to state a cause of action with
             leave to amend.

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           Davies filed his first amended complaint (FAC) on February 22, 2007. In the FAC he again alleged a third
           party beneficiary breach of contract, declaratory relief, and equitable relief. After a hearing on April 27,
           2007, the trial court sustained respondents' demurrers to the FAC with leave to amend, again for failure to
           state a cause of action.

           Davies filed his SAC on May 17, 2007. On August 2, 2007, the trial court issued its ruling sustaining
           respondents' demurrers without leave to amend as to all causes of action contained in the SAC based on
           Code of Civil Procedure section 430.10, subdivisions (e) and (f). A judgment of dismissal was entered on
           September 5, 2007, the notice of entry of judgment was filed on September 10, 2007, and Davies filed this
           timely appeal.

    1090
           *1090   II. DISCUSSION

           "On appeal from a judgment dismissing an action after sustaining a demurrer without leave to amend, the
           standard of review is well settled. We give the complaint a reasonable interpretation, reading it as a whole
           and its parts in their context. [Citation.] Further, we treat the demurrer as admitt ing all material facts properly
            pleaded, but do not assume the truth of contentions, deductions or conclusions of law. [Citations.] When a
           demurrer is sustained, we determine whether the complaint states facts sufficient to constitute a cause of
            action. [Citation.]" (City of Dinuba v. Countx of Tulare (2007) 41 Cal.4th 859,~                         [62 Cal.Rptr.3d 614,Jfil.
            P.3d 1168].) "When reviewing a judgment dismissing a complaint after a successful demur rer, we assume
           the complaint's properly pleaded or implied factual allegations are true .... " (Campbell v. Regents of
            University_of California (2005)        35 Cal.4th     311.~[25         Cal.RQtr.3d 320, 106 P.3d 976].)

            "In the construction of a pleading, for the purpose of determining its effect, its allegations must be liberally
            construed, with a view to substantial justice between the parties." (Code Civ. Proc.,§ 452.) "Reversible error
            is committed if the facts alleged show entitlement to relief under any possible legal theory. [Citation.]"
            (Duggal v. G.E. Capital Communications Services, Inc. (2000) 81 Cal.Ar:212.4th
                                                                                         81 •.JN.[96 Cal.R12tr.2d383],
            italics added .)

            "[W]hen [a demurrer] is sustained without leave to amend, we decide whether there is a reasonable
            possibility that the defect can be cured by amendment: if it can be, the trial court has abused its discretion
                                              of Dinuba v. CountY..
            and we reverse. [Citation.]" (CitY..                 of Tulare, suwa, 41 Cal.4th at R-865.) "The plaintiff
            has the burden of proving that an amendment would cure the defect. [Citation.]" (Campbell v. Regents of
            UniversitY..
                      of California. SUIJ.ra,
                                           35 Cal.4th at P.-320,. italics added.) In reviewing the granting of a demurrer,
            we review the trial court's result for error, and not its legal reasoning. (Mendoza v. Town of Ross (2005) 128
            Cal.AQQ.4th 625, 631 [27 Cal.R12tr.3d452].)

            The first cause of action alleged in Davies's SAC is breach of contract. He identifies two contracts, and two
            breaches: (1) respondents breached a contract with Davies's former employer Schectman , to which
            contract Davies was a third party beneficiary; and (2) respondents breached the terms of the promissory
            note governing his student loans. The second cause of action is for a judicial declaration stating Davies is
            the intended beneficiary to an alleged contract between Schectman and respondents and a judicial
            declaration interpreting certain language in the promissory note. The third cause of action is for equitable
     1091 relief, alleging that his obligation to pay interest on his *1091 loans accumulated through June 2001 is
            excusable under legal theories of changed circumstances, impossibility, extrinsic fraud, equitable estoppel
            and latches.


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           (1) "Where a written contract is pleaded by attachment to and incorporation in a complaint, and where the
           complaint fails to allege that the terms of the contract have any special meaning, a court will construe the
           language of the contract on its face to determine whether, as a matter of law, the contract is reasonably
           subject to a construction sufficient to sustain a cause of action for breach." (Hillsman v. Sutter CommunitY.
           Hospitals (1984) 153 Cal.AQQ.3d 743, 749-750 [200 Cal.Rptr. 605],.fn. omitted.) Moreover, "[t]he rule on
           demurrer is simply a variation on the well-recognized theme that 'It is ... solely a judicial function to
            interpret a written instrument unless the interpretation turns upon the credibility of extrinsic evidence.'
            [Citations.]" (Id. at p. 750, fn. 4.)

            In his opening brief on appeal, Davies concedes that the letters written by Schectman to Davies's student
            loan providers did not create a contract "and, that is no longer an issue in the action." However, in his reply
            brief, Davies addresses the time bar issue surrounding his third party beneficiary cause of action, and half-
            heartedly addresses the elements of a contract. Regardless, as the trial judge made clear in the hearing on
            respondent Edfund's first demurrer, "[t]here's nothing on the face of [the letter], though, that gives rise to
            any sort of promise." We agree. None of the letters written by Schectman is a contract. They do not fit within
            the definition of a contract: "an agreement to do or not to do a certain thing." (Civ. Code,§ 1549.)
            Furthermore, there is no consideration provided for any alleged "promises" by either party to the alleged
            contract. Schectman promises to do nothing-this                    is plain. Schectman drafted the letters merely to
            substantiate Davies's repeated economic hardship deferment requests. Because the letters fail to meet the
            definition of a contract, the trial court did not err in sustaining the demurrers to Davies's allegation of breach
            of contract under a third party beneficiary theory. Therefore, we affirm the trial court's sustaining the
            demurrers based on Code of Civil Procedure section 430.10, subdivisions (e) and (f).

            Davies's argument for breach of the promissory note contract stems from the language of the default and
            acceleration clause in that document. "Acceleration and Default [,UAt the option of the holder, the entire
            unpaid balance shall become immediately due and payable upon the occurrence of any one of the following
            events: ... (iv) I default on the loan(s). [,UThe following events shall constitute a default on a loan: (i) I fail
            to pay the entire unpaid balance after the holder has exercised its option under the preceding paragraph; or
            (ii) I fail to make installment payments when due, or fail to comply with other terms of the loan(s), and the
     1092 guarantor reasonably concludes I no *1092 longer intend to honor my repayment obligation, provided my
            failure has persisted for at least 180 days for payments due monthly or 240 days for payments due less
            frequently than monthly. If I default, the guarantor may purchase my loan, and capitalize all then-
            outstanding interest into a new principal balance, and collection fees will become immediately due and
            payable .... " Under "Governing Law and Notices," the note indicates that it is to be "interpreted in
            accordance with the Higher Education Act of 1965, as amended (20 U.S.C. 1070 et seq.), other applicable
            federal statutes and regulations, and the guarantor's policies." The note also states that "[a]pplicable state
            law, except as preempted by federal law, may provide for certain borrower rights, remedies, and defenses in
            addition to those stated in this Note."

            Davies's argument on appeal is that the demurrers were improperly sustained because he alleged sufficient
            facts, which we assume to be true, to show either that ( 1) respondents breached the terms of this
            promissory note vis-a-vis respondents' forbearance or deferment policy or (2) respondents did not
            reasonably conclude he "no longer intend[ed] to honor [his] repayment obligation[s]" under the terms of the
            note. Respondents contend that Davies's suit is a claim arising under the Higher Education Act of 1965
            (HEA) (20      u.s.c.§ 1070 et seq.) and that there              is no private right of action under the HEA. Therefore, as a
            matter of law, Davies cannot state a claim.



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            Parks School of Business, Inc.              v. SY..mington(9th Cir. 1995) 51 F.3d 1480. 1484-1485                        (Parks SchooD
            involved a school terminated from the state's loan guarantee program. Parks is a private junior college, with
            a campus in Arizona. "U[nited] S[tudent] A[id] F[unds] [(USAF)] ... [is] Arizona's designated guarantor of
            student loan programs. All of USAF's government funding comes from the federal government. [Fn.
            omitted.] USAF manages and operates a program for the guarantee of loans made by participating lenders
            on behalf of Arizona residents and others who are attending eligible institutions of higher learning in the
             State of Arizona. Parks contends that it was ... an eligible institution by virtue of its ongoing participation
             agreement with the Secretary . . . of Education. [Citation.] [ffl ... USAF terminated Parks' participation in
            the Arizona loan guarantee program." (Id. at p. 1483.) The district court granted defendant's demurrer, and
            the Ninth Circuit affirmed.

             (2) To determine Parks School had no private right of action under the HEA, the court applied the "four-
             factor test enunciated by the Supreme Court in Cort                      v. Ash    [(1975)] 422 U.S. 66 [95 S.Ct. 2080, 45 L.Ed.2d
             26]." (Parks School,...fill{J[g,51 F.3d at P--1484.) Those factors are whether (1) the plaintiff is one of the class
             for whose benefit the statute was enacted; (2) the legislative history indicates an intent to create or deny a
     1093 private right of *1093 action; (3) "implying a right of action would be consistent with the purposes of the
             legislative scheme"; and (4) "the cause of action is one traditionally relegated to state law so that it would be
             inappropriate to infer a cause of action based solely on federal law. [Citation.]" (Ibid.)

             The court in Parks School found the statute was enacted to benefit students. (Parks School , su/2!]1,51 F.3d
             at P--1484.) The court determined that Congress was silent as to a private right of action. However, the
             court determined that implying a private right of action would be inconsistent with the legislat ive scheme,
             since it would deter lenders from participating in the program. (Id. at p. 1485.) Additionally, the court noted
             that where a statute already has an enforcement mechanism, courts are wary of inferring a private right of
             action. (Id. at p. 1484.)

             (3) The court went on to identify the HEA's enforcement mechanism as 20 United States Code section
             1082. That section provides the Secretary of Education (Secretary) with ''wide-ranging authority to enforce
             the provisions of the [HEA]." (Parks School, su12.ra,51 F.3d at P--1485.) The court posits that "'[i)n light of
             the extensive enforcement authority given to the Secretary under this program, this court is convinced that
             Congress intended this mechanism to be the exclusive means for ensuring a lenders compliance with the
             statutes and regulations. The implication of a private cause of action would seriously undercut, rather than
             complement, the Secretary's enforcement powers. For example, there would be little chance of a lender
             later curing or correcting its violation or compromising with the Secretary, if the lender was already
             entangled in litigation on the same matter with an institution and particularly if any correction or compromise
             could possibly constitute an admission of fault in any other litigation."' (Ibid., italics added.)

             (4) Since the Secretary has sole authority over enforcement of the statutes and regulations governing the
             HEA generally (20 U.S.C. § 1082; Parks School, su12ra,51 F.3d at J:2.1484), the question becomes whether
             Davies's suit seeks to enforce compliance with the HEA and its regulations. Standards for granting
             deferments and forbearances are described in 34 C.F.R. §§ 682.210 (2008), 682.211 (2008), and not in
             Davies's promissory noteJil By alleging misconduct for refusing to grant Davies a continued deference or
     1094 *1094 forbearance of loan repayment, Davies seeks to litigate the issue of whether he should have been
             granted a forbearance or deferment. This he cannot do, since the Code of Federal Regulations governs
             forbearances or deferments, and enforcement of the same is left to the Secretary. The Code of Federal
             Regulations mandates regulations to implement the HEA that in turn determine respondents ' forbearance
             and deferment policies. (34 C.F.R. §§ 682.210 (2008), 682.211 (2008).) Therefore, suit concerning

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           application of that forbearance or deferment policy necessarily is "on the HEA." Enforcemen t of those
           regulations falls on the Secretary, and there is, therefore, no private right of action . (20 U.S.C. § 1082;
           Parks School, su12.ra,51 F.3d at p. 1484.)

           Similarly, the promissory note itself is to be interpreted in accordance with the HEA. The Code of Federal
            Regulations contains language, as respondent noted, that tracks the language of the promissory note.
           "Default. The failure of a borrower and endorser, if any, or joint borrowers on a PLUS or Consolidation loan,
           to make an installment payment when due, or to meet other terms of the promissory note, the Act, or
            regulations as applicable, if the Secretary or guaranty agency finds it reasonable to conclude that the
            borrower and endorser, if any, no longer intend to honor the obligation to repay, provided that this failure
            persists for- [,0 (1) 270 days for a loan repayable in monthly installments; or [,0 (2) 330 days for a loan
            repayable in less frequent installments ." (34 C.F.R. § 682.200 (2008).)

            Davies's suit alleging breach of the promissory note is focused on the definition of default in the note,
            particularly language concerning whether respondents reasonably concluded that he did not intend to pay
            his student loan. However, those terms in the promissory note "will be interpreted in accordance with the
            [HEA]" under the "Governing Law and Notices" provisions of the note. Suit on default terms of the
            promissory note therefore requires litigation on the HEA as to the meaning of the default terms in the note .

            (5) Additionally, "default" defined by the Code of Federal Regulations refers to the "Secretary['s]"
            determination of whether the borrower reasonably intends "to honor the obligation to repay . ... " (34 C.F.R.
            § 682.200 (2008).) Such reference to the Secretary serves as a reminder that "'Congress intended [the
            Secretary] to be the exclusive means for ensuring a lender's compliance with the statutes and regulations ."'
            (Parks School,~P-.ra, 51 F.3d at p. 1485 .. italics added .) After reviewing the language of the promissory note
            and the HEA , it is clear that Davies's suit on the note is actually a suit on the HEA. Since there is no private
            right of action under the HEA, the trial court properly granted respondents ' demurrers.

    1095 *1095 We note further that, although Parks School involved a suit by an education institution over acts
            relating to regulations pertaining to the continuation of offers of student loans, and the instant matter
            revolves around conduct by the lending bodies to enforce the repayment of student loans already made, the
            Parks School analysis is nonetheles~ on point. Particularly relevant is the court's statement that "'Congress
            intended this mechanism to be the exclusive means for ensuring a lender's compliance with the statutes
            and regulations."' (Parks School, su12.ra,51 F.3d at p. 1485, italics added.) Just as this statement applies to
            a private university's suit against its ex-student loan guarantor, it also applies to a student's complaint that
            his lender failed to administer deferments or forbearances in compliance with the applicable statutes and
            regulations .

            In addition, in virtual unanimous fashion, when confronted with the issue other courts have determined there
            is no private right of action under the HEA. (See Labickas                    v. Arkansas State University_(8th Cir. 1996) 78
            F.3d 333, 334 ["We conclude that no private right of action is implied under the HEA for student borrowers .
            . . . [T]he statute and legislative history do not otherwise suggest congressional intent to create a private
            remedy. [Citations .]"]; Parks School, suwa, 51 F.3d at p. 1485 ["'The implication of a private cause of action
            would seriously undercut , rather than complement, the Secretary's enforcement powers."']; J.:ggrke v.
            Benkula (10th Cir. 1992) 966 F.2d 1346, 1348, fn. 4 [finding no private cause of action and noting "A
            contrary result here has the potential to occasion a floodwater of federal actions by students perceiving
            themselves to be aggrieved . .. not to be risked absent some showing of supporting Congressional intent."];
            see also McCulloch v. PNC Bank Inc. (11th Cir. 2002) 298 F.3d 1217, 1221 [collecting cases of the same
            result]; Williams v. National School of Health Technology_(E.D.Pa. 1993) 836 F.SUP-P--
                                                                                                273. 279 ["Congress

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            manifested its intention that the provisions [of the HEA] be enforced administratively by directing the
            Secretary to promulgate regulations to implement the amendments." (Italics added.)]; George W v. U.S.
            Dent. of Educ. (E.D.Cal. 2000) 149 F.Sugg.2d 1195, 1211 ["On balance, the foregoing factors disfavor a
            private right of action to enforce HEA regulations."]; but see Fischer v. UN/PAC Service Cow..._(lowa1994)
            519 N.W.2d 793. 796-799 [addressing the merits of student borrower's suit alleging denial of a deferment in
           violation of the HEA].)

            Yet, Davies asserts that "[t]he within action clearly addresses claims and defenses to a private promissory
            note agreement between [a]ppellant and [r]espondents related to [r]espondents' forbearance policy." Davies
            avers that his suit is simply a breach of contract based on state law and not the HEA; this is incorrect. The
            text of the relevant areas of the promissory note, as reproduced above, provide no contractual rights to
    1096 Davies regarding his * 1096 continued deferment or forbearance requests. This language only describes the
            circumstances under which respondents may place him in default.

            Davies also alludes to some sort of implied agreement where respondents obligated themselves to continue
            granting deferments or forbearances ad infinitum. "[Respondents] breached their obligations of good faith
            and fair dealing, and their obligations and responsibilities created by the deferments granted to [Davies], by
            refusing to grant [Davies's]" final deferment request before respondents placed his promissory note in
            default. Davies points to no authority supporting his legal position that one grant of forbearance or
            deferment locks the lender into making repeated grants until some undetermined time in the future.

            Davies's reliance on United States v. Griffin (D.C.Cir. 1983) 228 U.S. AP-Q.D.C.72 [707 F.2d 1477,..li82]
            .(Griffin) is also misplaced. Griffin decided whether a student loan recipient, who defaulted on a loan made
            by the school he attended, retained defenses to that loan, enforceable against his school lender, after the
            government purchased the loan and attempted to collect. (Id. at pp. 1478-1479.) The court found the
            student's defenses enforceable against the original lender, were also enforceable against the government
            even after the student's default and the government's purchase of the loan. The court found this policy
            would not lead to government losses on the loans because "the government can turn around and recover
            from the lender default claims paid on obligations not in fact owed." (Id. at p. 1482.) Davies contends this
            case stands for the proposition that "a student loan borrower may bring actions against a lender based
            upon a lender's forebearance policy .... " To the contrary, as explained above, Griffin is simply about a
            student borrower's retention of defenses after the government's purchase of a defaulted loan.

            The SAC also requests equitable relief. On appeal, however, Davies makes no argument for such relief or
            claim of error associated with the court's dismissal of that claim. Davies merely summarizes the allegations
            of his SAC. Accordingly, Davies's appeal concerning the demurrers as to his equity causes of action is
            waived. (See Reyes v. Kosha (1998) 65 Cal.Agg.4th 451,466, fn. 6 [76 Cal.Rptr.2d 457] ["Although our
            review of a [demurrer] is de novo, it is limited to issues which have been adequately raised and supported in
            plaintiffs' brief. [Citations.] Issues not raised in an appellant's brief are deemed waived or abandoned.
            [Citation.]"].) Since we reject Davies's substantive claims on the merits, the dismissal relating to his request
            for declaratory relief is likewise affirmed.

            Lastly, Davies contends, without describing why, the trial court abused its discretion in sustaining the
     1097 demurrers to his SAC without offering him *1097 another chance to amend his pleading. It is of note that
            prior to sustaining the demurrer without leave to amend, the trial court offered Davies two previous
            opportunities to amend his pleading to state a cause of action. Since as a matter of law Davies cannot
            sustain a cause of action under the HEA, and Davies's briefs on appeal do not meet his burden on appeal


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            by indicating how his complaint could be amended to avoid bringing suit on the HEA, we determine the trial
            court did not abuse discretion in granting the demurrers to Davies's SAC without leave to amend.


            Ill. DISPOSITION

            The orders sustaining respondents' demurrers to Davies SAC without leave to amend are affirmed. Each
            party to bear his or its own costs on appeal.

            Sepulveda , J., and Rivera, J., concurred.

            [11Below is the text of one of the virtually identical letters drafted by Schectman.

            "March 13, 2000     [fflTo Whom   It May Concern:

            "I am writing this letter at the request of Steven T. Davies, S.S.# .. ., to provide documentation of his income in connection with his
            Economic Hardship Deferment Request. [ffl Mr. Davies is an attorney at my law practice, Pacific Law, based in Eureka, California. Mr.
            Davies works exclusively, full-time, 40+ hours for Pacific Law working on several large and complex lawsuits on behalf of some 70
            Plaintiffs in and around Eureka , California which my practice is exclusively focused on . Mr. Davies does not have outside employment
            and his responsibilities to Pacific Law require that Mr. Davies devote himself full-time to the litigation at Pacific Law. [ffl Mr. Davies has not
            received a salary since September, 1998 and will not receive economic compensation for his work until a settlement or court judgment on
            the cases he is working on, which I anticipate will not occur until August, 2000, approximately. I do, however, provide Mr. Davies with
            housing and cover his costs for food, some gas, and emergency items. These costs generally run under $200 per month or less. [ffl
            Since September 1999, I do not maintain employment records for Mr. Davies. We are in the process of formalizing a written employment
            agreement or formalized compensation agreement, but, at present, we have a non-written agreement that his compensation be fair. [11]
            Please call me if you have any questions.     [fflVery Truly Yours, [ffl [/S/ Steven A. Schectman]"
            [il In his reply brief, Davies alleges that Code of Federal Regulations provisions are inapplicable because "The loan is a 'Federal Stafford
            Loan', not a F[ederal] F[amily] E[ducation] L[oan] P[rogram] loan [sic]." The FFEL (Federal Family Education Loan) program is not a type
            of loan, but is instead a program offering various federal loans . The FFEL program implements a variety of federal loans: Federal
            Consolidation loans (20 U.S.C. § 1078-3), Federal PLUS loans (20 U.S .C. § 1078-2) , and Davies's Federal Stafford loans. (See 20
            U.S.C. ch. 28, subch . IV, pt. B, titled Federal Family Education Loan Program.) Davies's Federal Stafford loans are loans implemented
            under and derived from the FFEL program, therefore, those sections of the Code of Federal Regulations applicable to the FFEL program
            are applicable to Davies's Federal Stafford loans.




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1                                               PROOF OF SERVICE

2    STATE OF CALIFORNIA, COUNTY OF ORANGE, UNITED STATES OF AMERJCA

3       I am employed in the county of Orange, State of California. I am over the age of 18 and not a party to the
     within action; my business address is 7700 Irvine Center Drive, Suite 800, Irvine, CA 92618.
4
     On Sept. 24, 2018, I served the foregoing document described as STATE AUTHORITIES IN
5    SUPPORT OF MOTION FOR MORE DEFINITE STATEMENT OR IN THE
     ALTERNATIVE MOTION TO DISMISS COMPLAINT AGAINST DEFENDANTS (Fed. R.
6    Civ. P. 12(e) and 12(b)(6) on the interested parties in this action by placing a true copy thereof enclosed in
     sealed envelopes addressed as follows:
7
     Brandon Reif, Reif Law Group, 10250 Constellation Blvd., Suite 100, Los Angeles, CA 90067 (310) 494-6500
8    (BReif@reiflawgroup.com) (Plaintiff's)
9    Kathy Huang, Alston & Bird, 333 South Hope Street, 16th Floor, Los Angeles, CA 90071 (213) 576-1000
     (Kathy.huang@alston.com) (Minnesota Life Ins. Co.)
10
     Joseph Aliberti, Law Office Joseph Aliberti, 4340 Von Karman Ave., Suite 110, Newport Beach, CA 92660
11
     (949) 734-0550 (jma@alibertilaw.com) (Mathew Beiser)
12
     Joe Akrotirianakis, King & Spalding, 633 West Fifth Street, Suite 1700, Los Angeles, CA 90071 (213) 443-
13   4355 (JAkro@KSLAW.com) (Shurwest Holding Company, Inc. & Shurwest, LLC)

14   Faisal Zubairi, Dorsey & Shitnes, 600 Anton Blvd., Suite 2000, Costa Mesa, CA 92626-7655 (714-800-1461)
     (zubairi.faisal@dorsey.com) (Happy State Bank & Goldstar Trust Company)
15
            VIA MAIL: As follows: I am "readily familiar" with the firm's practice of collection and processing
16   correspondence for mailing. Under that practice, it would be deposited with U.S. postal service on that same
     day with postage thereon fully prepaid at Orange County, California in the ordinary course of business. I am
17   aware that on motion of the party served, service is presumed invalid if postal cancellation date or postage
     meter date is more than one day after date of deposit for mailing in affidavit.
18
             BY PERSONAL SERVICE: I delivered such envelope by hand to the office of the above
19   addressee(s) during normal business hours.

20           BY OVERNIGHT COURIER: I caused the above-referenced document(s) to be delivered to an
     overnight courier service for delivery to the addressee(s) shown.
21

22
     't.;_   VIA ELECTRONIC MAIL: The document was served electronically to the respective e-mail
     address(es) of the party(ies) as stated above and/or on the mailing list.
23     I declare under penalty of perjury under the laws of the State of California and the United States of
     America that the foregoing is true      rrect.
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                 STATE AUTHORITIES IN SUPPORT OF MOTION FOR DEFINA TE STATEMENT OR TO DISMISS
